     Case 4:20-cv-03479 Document 19 Filed on 01/22/21 in TXSD Page 1 of 40
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                           January 22, 2021
                    IN THE UNITED STATES DISTRICT COURT                   Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


KOCH PROJECT SOLUTIONS, LLC,             §
                                         §
                    Plaintiff,           §
                                         §
v.                                       §        CIVIL ACTION NO. H-20-3479
                                         §
ALLIANCE PROCESS PARTNERS, LLC,          §
d/b/a INTERNATIONAL ALLIANCE             §
GROUP, and TRITEN CORPORATION,           §
                                         §
                    Defendant(s),        §


                       MEMORANDUM OPINION AND ORDER

        Plaintiff, Koch Project Solutions, LLC, ("KPS"), brings this

action against defendants, Alliance Process Partners, LLC, d/b/a

International       Alliance   Group   ("IAG"),       and   Triten   Corporation

("Triten")      (collectively,    "Defendants"),        asserting    claims       for

declaratory judgment under 28 U.S.C. §§ 2201-2202, arising from

"Defendants'      public    and   erroneous      allegations     that     KPS       is

unlawfully competing with Defendants."1               Pending before the court

is Defendants' Motion to Dismiss or Stay Plaintiff's Declaratory

Judgment Action ("Defendants' Motion to Dismiss or Stay") (Docket

Entry No. 7), and Plaintiff Koch Project Solutions, LLC's Response

in     Opposition    to    Defendants'       Motion    to   Dismiss     or      Stay

("Plaintiff's Response�) (Docket Entry No. 14),                  in which KPS


      Koch Project Solution's, LLC's Original Complaint for
        1

Declaratory Relief ("Plaintiff's Complaint"), Docket Entry No. 1,
p. 1. Page numbers for docket entries in the record refer to the
pagination inserted at the top of the page by the court's
electronic filing system.
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requests leave to amend "[i]f the Court is inclined to agree that

dismissal     is   warranted." 2        For   the   reasons    explained     below,

Plaintiff will be ordered to supplement the jurisdictional facts

stated in Plaintiff's Complaint, Defendants' Motion to Dismiss will

be denied, Plaintiff's request to amend will be denied as moot, and

Defendants' Motion to Stay will be granted.



                              I. Factual Allegations

     KPS alleges that it was established in April of 2019, and that

it offers a variety of services and expertise                    to clients in

multiple industries, including the manufacturing,                    refining,   and

energy     sectors. 3         KPS's   leadership     includes:       Paul   Switzer

("Switzer"), President; Price Chumley ("Chumley"), Vice-President

for Operations; Antoine Schellinger ("Schellinget"), Senior Vice­

President for Business Development; John Burrus ("Burrus"), Vice­

President for Project Services;               and James Woodard       ("Woodard"),

Director of Technical Services.           KPS alleges that "[a]t some point

before     working      for   KPS,    these   individuals     were    employed   or




     2
      Plaintiff Koch Project Solutions,        LLC's Response in
Opposition to Defendants' Motion to Dismiss or Stay ("Plaintiff's
Response"), Docket Entry No. 14, p. 11 n. 2. See also Plaintiff
Koch Project Solutions, LLC's Supplement to its Response in
Opposition to Defendants' Motion to Dismiss or Stay ("Plaintiff's
Supplement"), Docket Entry No. 15, p. 2 (restating request to amend
"should the court require additional allegations").
     3
         KPS's Complaint, Docket Entry No. 1, p. 3 � 9.
                                          2
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otherwise retained by one or more Defendants." 4                 KPS alleges that

du�ing their respective tenures with defendant Triten, Chumley,

Schellinger,         Burrus,   and     Woodard    (collectively,      the   "Former

Employees") each signed an agreement setting forth certain post­

employment obligations              that   prohibit    them   from   soliciting or

accepting certain business from Triten's customers for a 24-month

period following their termination. 5             KPS alleges that Switzer was

a former Triten consultant who signed a "Consulting Agreement"

containing post-employment obligations that                    prohibit him from

soliciting business from or encouraging any of 16 named entities td

discontinue working with or altering their relationship with IAG

for a 12-month period following his termination. 6 KPS alleges that

Switzer        and   the   Former    Employees   departed     Tr1ten for    better

opportunities - Schellinger in July of 2018, Switzer in May of

2019,       Woodard in September of 2019,             and Chumley and Burrus in

November of 2019. 7

        KPS alleges that in March of 2020 Defendants advised the

president of KPS' s parent· company that they believed KPS was



        4
            Id. at 3-4 � 10.

      Id. at 4 � 11 & n. 3 (asserting that the agreements signed by
        5

Chumley, Burrus, and Woodard are attached as Exhibits 1, 2, and 3,
respectively).
      Id. at 5 � 13 & n. 5 (asserting that "[t]he Consultant
        6

Agreement is attached as Exhibit 4").
        7
            Id. at 5-6 � 14.
                                            3
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involved      in   inducing     the   Former   Employees   to   violate   their

respective agreements by causing them to solicit or accept business

on behalf of KPS in competition with Triten and soliciting other

Triten employees. 8         KPS alleges that

     [s]hortly thereafter, in a Texas state court lawsuit,
     Defendants elevated their objections in a public filing
     naming KPS's direct and indirect parent companies (Koch
     Engineered Solutions 1 LLC, and Koch Industries, Inc.),
     over whom the state court does not have jurisdiction, as
     third-party defendants to a lawsuit involving Switzer's
     individual claim for unpaid compensation owed by Triten
     and/ or IAG under his Consultant Agreement.       Despite
     referring to KPS in their pleadings, Defendants did not
     name KPS as a third-party defendant but nevertheless
     still accuse KPS of hiring away the Former Employees to
     compete for projects that "otherwise would have gone to
     Triten" by allegedly inducing the Former Employees to
     violate their Agreements. Further, after being informed
     that they h�d �ued the wrong party, Defendants declined
     to amend their pleading to include KPS or omit its parent
     companies.

          Defendants' accusations - which anyone, including
     potential clients, may now view as a matter of public
     record on the state court's docket - jeopardize KPS from
     being awarded projects by former Triten clients, as
     Defendants ha�e claimed - and will undoubtedly continue
     to argue       that any such projects were awarded in
     violation of the Former Employees · a·nd Switzer's "non­
     c6�pete
        .
             obligations."
                  .      .


           KPS desire� to rsm6ve the cloud over its name that
     has been engineered to prevent it from conducting
     business.· In order to clarify the rights '�nd liabilities
     between the parti�s, and so that it may conduct business
     unimpeded, · KPS seeks declaratory relief regarding its
     alleged role in directing the Former Employee·s and
     Swit.ier to violate their post-contr�ctual obligations. 9



     8
         Id. at 6 'II 15.
     9
         Id. at 6-7 '11'11 16-18.
                                         4
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     On October 9, 2020, KPS filed this action asserting tw6 causes

of action . seeking declaratory                       judgment pursuant to 28    U. s. c.

§§ 2201-2202.     Count One asserts claims for declaratory judgment as

to tortious interference through competition, and seeks

     a declaratory judgment that KPS has not tortiously
     interfered and is not tortiously interfering with:
      (a) the provisions in Chumley, Burrus, and Woodard's
     Agreements prohibiting them for soliciting or accepting
     business of a similar nature to that which Triten
     provided to its customers;        (b) the provision in
     Schellinger's Agreement prohibiting him from contacting
     Triten's clients for nine months; and (c) Article 9 of
     Switzer's Consultant Agreement. 10

Count Two asserts claims for declaratory judgment as to tortious

interference by employment, and seeks "a declaratory judgment that

KPS has not tortiously interfered with the provisions in the

Agreements     purporting                to   prohibit    the   Former   Employees   from

soliciting,     inducing,               or attempting to induce any other Triten

employee to leave Triten to work for a competitor." 11


             II. Defendants' Motion to Dismiss for Lack of
                      Subject Matter Jurisdiction

     Defendants argue that this action should be dismissed for lack

of subject matter jurisdiction because

      KPS has failed to carry its burden to demonstrate this
   .. Court's subject matter jurisdiction under either of the
      two statutes it cites. The Declaratory Judgment Act does
      not confer jurisdiction and KPS has not carried its


      Id. at 7
     10
                      'I[         20.   See also id. at 11 § VI (KPS's demands for
judgment).
     11   Id. at 10         'I[   37.

                                                  5
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        burden to establish diversity               jurisdiction under 28
        U.S.C. § 13 3 2 (a). 12

KPS responds that the court has diversity jurisdiction, and that it

has sufficiently alleged both complete diversity of citizenship,

and the requisite amount in controversy. 13                 KPS does not dispute

that the Declaratory Judgment Act does not confer subject matter

jurisdiction on this court.         See Frye v. Andarko Petroleum Corp.,

953 F.3d 285, 293 (5th Cir. 2019) ("A claim under the Declaratory

Judgment         Act   is   insufficient      to     confer     federal   question

jurisdiction under 28 U.S.C. § 1331.")               See also Skelly Oil Co. v.

Phillips Petroleum Co., 70 S. Ct. 876, 879 (1950) (recognizing that

"the operation of the Declaratory Judgment Act is procedural only,"

and that by enacting it, "Congress enlarged the range of remedies

available         in   federal   courts       but     did     not·   extend   their

jurisdiction").



A.      Standard of Review

        Federal Rule of Civil Procedure 12 (b) (1) governs challenges to

the court's subject matter jurisdiction.                    "A case i•s properly

dismissed for lack of subject matter jurisdiction when the court



      Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
        12

pp. 7. See also Defendants' Reply in Support of Their Motions to
Dismiss or Stay this Case ("Defendants' Reply"), Docket Entry
No. 16, p. 6 (arguing that "Triten's state court claims do not
establish the amount in controversy here").
        13   Plaintiff's Response, Docket Entry No. 14, pp. 9-11.
                                          6
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lacks the statutory or constitutional. power to adjudicate the

case." . Home Builders Association of Mississippi, Inc. v. City of

Madison, Mississippi, 143 F.3d 1006, 1010 (5th Cir. 1998). "Courts

may dismiss for lack of subject matter jurisdiction on any one of

three different bases: (1) the complaint alone; (2) the complaint

supplemented by      undisputed        facts    in    the    record;   or    (3)   the

complaint     supplemented   by    undisputed         facts    plus    the   court's

resolution of disputed facts."          Clark v. Tarrant County, Texas, 798

F.2d 736, 741 (5th Cir. 1986). Rule 12(b)(1) challenges to subject

matter    jurisdiction    come    in    two forms:          "facial"   attacks     and

"factual" attacks.       See Paterson v. Weinberger, 644 F.2d 521, 523

(5th Cir. 1981).       A facial attack consists of a Rule 12 (b)(1)

motion based solely on the pleadings unaccompanied by supporting

evidence.      Id.    A factual attack challenges the existence of

subject     matter   jurisdiction       in     fact         irrespective     of    the

ple�dings -- and matters outside the pleadings -- such as testimony

and affidavits -- are considered.               Id.   Although Defendants have

not cited evidence outside of the pleadings in support of their

motion to dismiss for lack of subject matter jurisdiction, because

KPS has cited evidence outside of the pleadi�gs in opposition to

the Defendants' motion to dismiss, the court will treat the motion

as a factual attack,       and will not limit its review to whether

Plaintiff's Complaint sufficiently alleges jurisdiction.                     KPS, as

the party asserting federal jurisdiction,                   bears the burden of


                                         7
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showing         that   the   jurisdictional    requirements   have   been   met.

Alabama-Coushatta Tribe of Texas v. United States, 757 F.3d 484,

487 (5th Cir. 2014).            When facing a challenge to subject matter

jurisdiction and other challenges on the merits, courts must

consider the jurisdictional challenge before addressing the merits

of the case.           Id.



B.      Analysis

        KPS asserts diversity jurisdiction by alleging that

        the parties are citizens of different states, and the
        amount in controversy exceeds $75,000.00 exclusive of
        interest and costs. KPS is a citizen of Kansas within
        the meaning of 28 U.S.C. § 1332 because its members are
        Kansas residents. IAG is a citizen of Texas within the
        meaning of 28 U.S.C. § 1332 because its members are Texas
        residents.   Triten is a citizen of Texas within the
        meaning of 28 U.S.C. § 1332 because it is incorporated in
        Texas and has its principle place of business in Texas.14

Defendants argue that "KPS has not properly invoked the Court's

diversity jurisdiction both because KPS (an LLC) has not alleged

the citizenship of its members                ( and thus failed to establish

complete diversity) and because KPS has not shown that the amount

in controversy exceeds $75,000." 15




        14
             Plaintiff's Complaint, Docket Entry No. 1, pp. 2-3,. 'l1 5.
        15
             Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 7.
                                         8
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     1.      Plaintiff   Will   Be    Ordered to Supplement the
             Jurisdictional Facts Alleged to Establish Complete
             Diversitv of Citizenshio

     Quoting Midcap Media Finance, L.L.C. v. Pathway Data, Inc.,

929 F.3d 310, 314 (5th Cir. 2019), Defendants argue that

     KPS's diversity allegations are at best incomplete. KPS
     claims Kansas citizenship, Compl. <[ 5, but as an LLC it
    -cannot rest on that allegation alone and instead must
     also identify its "members and allege their citizenship."
       . KPS did not identify its members and has therefore
     failed to establish complete diversity. 16

KPS responds that      Defendants' objection to their allegations of

diversity is moot because "[a] s demonstrated in the attached

Declaration of Scott A. Campbell, KPS is a citizen of Kansas, New

York, and California - no member is a resident or citizen of Texas.

      The parties are completely diverse."17

     "Jurisdiction cannot be wa_ived,             and it is the duty of a

federal court first to decide, sua sponte if necessary, whether it

has jurisdiction before the merits of the case can be addressed."

Filer v. Donley,      690 F.3d 643,       64 6   (5th Cir. 2012·).   See also

A.I.M. Control's, L.L.C. v; Commissioner of Internal Revenue, 672

F.3d 390, 392 (5th Cir. 2012)· ( "Federal courts 'must raise and

decide jurisdicti6nal questions that the parties either overlook or

eiect not to press.'")      (quoting Henderson ex rel. Henderson v.

Shinseki, 131 S. ·ct. 1197, 1202 (2011))



     16
          Id. at 8.
     17   Plaintiff's Respcinse, Docket Entry No. 14, p. 9.
                                      9
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        Under _28 U.S.C. · § 1332 there must be complete diversity of

citizenship between plaintiffs and defendants.                   McLaughlin V.

Mississippi Power Co.,          376 F.3d 344,       353   (5th Cir. 2004)    (per

curiam)      (citing Strawbridge v. Curtiss,           7 U.S.   (3 Cranch) 267

(1806)).      "'The concept of complete diversity requires that all

persons on one side of the controversy be citizens of different

states than all persons on the other side ..'"            Id. (quoting Harrison

v.     Prather,   404 F.2d 267,        272    (5th Cir. 1968) · (per· curiam)).

Moreover,      federal courts         are courts of limited jurisdiction,

Kokkonen v.       Guardian Life Insurance Co. of America, 114 S. Ct.

1673, 1675 (1994), and therefore "must presume that a suit lies

outside this limited jurisdiction, and the burden of establishing

federal jurisdiction rests �n the party seeking the federal forum."

Howery v. Allstate Insurance Co., 243 F.3d 912, 916 (5th Cir.),

cert. denied, 122 S. Ct. 459 (2001)

        In   Midcap   Media     the    Fifth    Circuit   repeated   the    well­

established rule of law that "[t] he citizenship of a [n] LLC is

determined by the citizenship of all of its members."                929 F.3d at

314     (quoting Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080

(5th Cir. 2008)). See also Carden v. Arkoma Associates, 110 S. Ct.

1015, 1021 (1990) ("[W]e reject the contention that to determine,

for diversity purposes, the citizenship of an artificial entity,

the court may consult the citizenship of less than all of the

entity's      members.     We    adhere to       our· oft-repeated   rule   that


                                         10
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diversity jurisdiction in a suit by or against the entity depends

on the citizenship of 'all the members[.]'") (citations omitted).

"So,        to   establish   diversity        jurisdiction,   ·a     party     'must

specifically allege the.citizenship of every member of every LLC,'"

Midcap Media, 929 F.3d at 314 (quoting Settlement Funding, L.L.C.

v. Rapid Settlements, Ltd., 851 F.3d 530, 536 (5th Cir. 2017)).

Thus, when members of a limited liability company are themselves

entities or associations,         citizenship must be traced                 through

however many layers of members there are until arriving at the

entity that is not a limited liability company.                    See Mullins v.

TestAmerica, Inc., 564 F.3d 386, 397-98 (5th Cir. 2009)                  See also

Alphonse v. Arch Bay Holdings, L.L.C., 618 F. App'x 765, 768 (5th

Cir. 2015) (per curiam) (" [N] o case law has suggested that [the

conclusion reached in Harvey, 542 F.3d at 1080,] may be disregarded

when one of the LLC's members is an artificial entity comprised of

additional entities.").

       Plaintiff's Complaint states that "KPS is a limited liability

company organized under the laws of Delaware and authorized to

transact business in Texas. It's principal place of business is in

Wichita, Kansas, and its members are Kansas residents, " 18 and that

"IAG is a limited liability company organized under the laws of

Delaware and        authorized to transact business in               Texas.      Its

principal place of business is in Houston, Texas, and its members


       18
            Plaintiff's Complaint, Docket Entry No. 1, p. 2 � 2.
                                         11
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are Texas residents." 19              Plaintiff's Complaint fails to identify

either the members of KPS or IAG or their respective states of

citizenship. Under Midcap Media, 929 F.3d at 314, Harvey, 542 F.3d

at 1080, and Carden, 110 S. Ct. at 1021, KPS's allegations are not

sufficient to establish complete diversity of citizenship.

       In      response    to    Defendant's       Motion      to    Dismiss,   KPS   has

submitted the Declaration of Scott A. Campbell, which identifies

all of the members of KPS,                and traces through many layers of

members until arriving at the entities that are not limited

liability companies and identifying their respective states of

citizenship.          The Campbell Declaration shows KPS to be a citizen of

Kansas, New York, and California. 20               Although Plaintiff's Complaint

alleges that the members of defendant Alliance Process Partners,

LLC,    d/b/a      IAG,   are all Texas residents,              neither Plaintiff's

Complaint nor the Campbell Declaration identifies the members of

Alliance Process Partners,               LLC,    d/b/a IAG,         or their states of

citizenship.          Bare allegations of residency are not sufficient to

establish citizenship.            See Midcap Media, 929 F.3d at 314 (citing

Robertson        v.     Cease,   97     U.S.     64 6,   647    (1878)     ("Where    the

jurisdiction of a court of the United States depends upon the
                                                                                      I
       19
            Id. 9I 3.
      Declaration of Scott A. Campbell in Support of Plaintiff Koch
       20

Project Solutions, LLC's Response in Opposition. to Defendants'
Motion to Dismiss      ("Campbell Declaration"),    Exhibit 1 to
Plaintiff's Response, Docket Entry No. 14-2.
                                            12
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citizenship of the parties, such citizenship, and not simply their

residence must be shown on the record.")).

       Since Defendants only argue that KPS has failed to identify

and allege the citizenship of every LLC member, but have not argued

that the parties are, in fact, not completely diverse, the court

need    not   dismiss      this     action     for     lack   of   subject    matter

jurisdiction    but     may,       instead,    order    KPS   to   supplement    the

jurisdictional facts alleged in Plaintiff's Complaint to establish

complete diversity of citizenship by identifying Alliance Process

Partners, LLC, d/b/a IAG's members and their respective states of

citizenship.        See 28 U.S.C. § 1653 ("Defective allegations of

jurisdiction may be amended, upon terms, in the trial or appellate

courts.")     See also Whitmire v. Victus Ltd., 212 F.3d 885, 887-88

(5th Cir. 2000) (explaining that "§ 1653 is be broadly construed to

avoid dismissals of actions on purely                   'technical' or       'formal'

grounds,"     and   that       a   "failure     to     specifically   allege     the

citizenship of a party can be cured even in the appellate courts").

Accordingly, KPS will be ordered to supplement the jurisdictional

facts alleged in Plaintiff's              Complaint      to establish complete

diversity of citizenship by identifying Alliance Process Partners,

LLC, d/b/a IAG's members and their respective states of citizenship

within 14 days from the entry of this Memorandum Opinion and Order.

Should KPS fail to do so, the court may dismiss this action for

lack of subject matter jurisdiction.


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        2.      Plaintiff Has Cited Evidence Showing that the Amount in
                Controversy is Sufficient for Diversity Jurisdiction

        Citing Hunt v. Washington State Apple Advertising Commission,

97 S. Ct. 2434, 2443 (1977), Defendants argue that

        KPS has not met its burden to show that the amount in
        controversy exceeds $75,000. KPS's purported injury -
        that Triten's state court allegations 'jeopardize KPS
        from being awarded projects by former Triten clients' -
        do not include a calculation or even an assessment of
        damages. Compl. '!['![ 16-17.   Nor does KPS identify any
        projects   or   potential     projects  that   have   been
        "jeopardize [d]," let alone attempt to ascribe them value.
        There is thus no basis from which the Court could find
        that the amount in controversy exceeds $75,000.21

Citing Garcia v. Koch Oil Co. of Texas, Inc., 351 F.3d 636, 638

(5th Cir. 2003), Defendants argue that "[b]ecause its allegations

are lacking, KPS must prove by a preponderance of the evidence that

the amount in controversy requirement is met.             . Yet KPS has

offered no such evidence.        Unsworn statements about the potential

loss of potential (and unidentified) customers are not enough." 22

        KPS responds that "the amount in controversy exceeds $75,000,

and the Court need only take IAG and Triten's word for it." 23        KPS

argues that

        [e] ven though KPS is not a party in the state court
        action, IAG and Triten there seek the return of "[a]ny
        revenue generated by Koch Project Solutions" as part of
        their requested relief, and describe "large construction


        21
             Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 8.


        23
             Plaintiff's Response, Docket Entry No. 14, p. 10.
                                      14
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     projects that have generated millions of dollars in
     revenue." (See [0kt. 7-3], at pp. 6 [<JI 21], 16 [<JI 94].).
     They quantify their losses being in excess of $1 million.
     (Id. at p. 5 [<JI 11]).   Though KPS contends there is
     nothing wrongful about its hiring and employing the
     former employees, and although the nature of the alleged
     interference at issue here differs from that alleged in
     state court, IAG and Triten value their supposed loss
     above $75,000 and cannot credibly value the alleged gain
     to KPS below that.24

Asserting that "[w]here the amount in controversy is satisfied, in

order to justify dismissal, it must appear to a legal certainty

that the claim is in fact for less than the jurisdictional amount,"

KPS argues that

     IAG and Triten provide no basis to infer that KPS's claim
     is definitively - that is, to a legal certainty - valued
     at less than $75,000, nor can they do so. There is no
     requirement that KPS delineate with detailed allegations
     and evidence the projects affected or that it carefully
     scrutinize and plead a damages model (for a declaratory
     judgment action).      . Dismissal is not warranted, as
     the value of the claim at issue exceeds $75,000. 25

     "The party teeking to invoke federal diversity jurisdiction

bears the burden of establishing both that the parties are diverse

and that the amount in controversy exceeds $75,000."           Frye, 953

F.3d at 293      (quoting Garcia, 351 F.3d at 638     (citing St. Paul

Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir.

1998)).     "[U]nless the law gives a different rule, the sum claimed

by the plaintiff controls if the claim is apparently made in good

faith."     st: Paul Reinsurance, 134 F.3d at 1253 (quoting St. Paul




     25
          Id. at 10-11.
                                  15
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Mercury Indemnity Co. V. Red Cab Co., 58 S. Ct. 586, 590 (1938)).

"To justify dismissal,    'it must appear to a legal certainty that

the claim is really for less than the jurisdictional amount.'" Id.

(quoting St. Paul Mercury, 58 S. Ct. at 590).         The Fifth Circuit

has held, however, "that this 'legal certainty' test has limited

utility - in fact is inapplicable - when the plaintiff has alleged

an indeterminate amount of damages."         Id.   (citing DeAguilar v.

Boeing Co., 47 F.3d 1404, 1408 (5th Cir.), cert. denied, 116 S. Ct.

180 (1995))    The Fifth Circuit has explained that

     [a]lthough most of our case law regarding§ 1332's amount
     in controversy requirement has arisen in the context of
     removal from state to federal court, we find the
     procedures developed in those cases to be instructive in
     the converse context of declaratory judgment actions such
     as the one now before us. In removal practice, when a
     complaint does not allege a specific amount of damages,
     the party invoking federal jurisdiction must prove by a
     preponderance of the evidence that the amount in
     controversy exceeds the jurisdictional amount.        The
     district court must first examine the complaint to
     determine whether it is "facially apparent" that the
     claims exceed the jurisdictional amount. If it is not
     thus apparent, the court may rely "on summary judgment­
     type" evidence to ascertain the amount in controversy.
     Importantly, the jurisdictional facts must be judged as
     of the time the complaint is filed; subsequent events
     cannot serve to deprive the court of jurisdiction once it
     has attached.

Id. at 1253-54.   See also Allen v. R&H Oil & Gas Co., 63 F.3d 1326,

1335-36 (5th Cir. 1995) (explaining that the test is whether it is

more likely than not that the amount of the claim will exceed the

jurisdictional minimum).




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       Plaintiff's Complaint alleges that "the amount in controversy

exceeds $75,000.00 exclusive of interest and costs," 26 but "bare

allegation, by itself, does not invest a federal court with

jurisdiction."        Dow Agrosciences LLC v. Bates, 332 F.3d 323, 326

(5th    Cir.     2003),   vacated   on   other     grounds   by   Bates   v.   Dow

Agrosciences LLC, 125 S. Ct. 1788 (2005). "When a complaint does

not allege a specific amount of damages, the party invoking federal

jurisdiction must prove by a preponderance of the evidence that the

amount in controversy exceeds the jurisdictional amount." St. Paul

Reinsurance, 134 F.3d at 1253.                See also Frye, 953 F.3d at 293

(same), and Garcia, 351 F.3d at 638-39 (same). "In actions seeking

declaratory or injunctive relief, it is well established that "the

amount in controversy is measured by the value of the object of the

litigation," Hunt, 97 S. Ct. at 2443, meaning, "the value of the

right to be protected or the extent of the injury to be prevented."

St. Paul Reinsurance, 134 F.3d at 1252-53               (citing Leininger v.

Leininger, 705 F.2d 727, 729 (5th Cir. 1983) (per curiam)).

       The object of this litigation is KPS's right to compete with

Defendants free from interference by the non-solicitation and non­

compete agreements its employees - Switzer, Chumley, Schellinger,

Burrus, and Woodard - entered with Defendants.               Defendants' argue

that KPS has failed to establish that the value of its claims

exceed $75,000.00 because "KPS's purported injury - that Triten's

       26
            Plaintiff's Complaint, Docket Entry No. 1, p. 2 � 5.
                                         17
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state court allegations 'jeopardize KPS from being awarded projects

by former Triten clients' - do not include a calculation or even an

assessment of damages." 27   While neither Plaintiff's Complaint nor

KPS's response in opposition to the pending motion to dismiss

provide information from which to calculate the value of any harm

suffered by KPS,    Defendants' argument ignores the value of the

injury to be prevented, i.e., the benefit that KPS would receive if

the court were to grant its request for declaratory judgment that

it has not tortiously interfered and is not tortiously interfering

with the non-solicitation and non-compete agreements signed by its

employees.   See Hunt, 97 S. Ct. at 2443 ("Here, that object is the

right of the individual Washington apple growers and dealers to

conduct their business affairs in the North Carolina market free

from the interference of the challenged statute.       The value of that

right is measured by the losses that will follow from the statute's

enforcement.").

     As evidence of the value of the injury to be prevented, KPS

cites the third-party claims that Defendants have asserted against

its president,    Switzer,   its parent companies and one of their

presidents in the state court lawsuit seeking "monetary relief over




     27
           Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 8 (citing Plaintiff's Complaint, Docket Entry No. 1, pp. 6-7
<_!!<_!!16-17).
                                   18
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$1,000,000," 28   based on allegations that      "Koch   Industries has

frequently hired Triten on large construction projects that have

generated millions of dollars in revenue for Triten," 29 that

     [t]he Koch Defendants have used Triten employees and
     know-how, obtainable only through tortious conduct, to
     compete for clients and projects[, and that a]ny revenue
     generated by Koch Project Solutions from those clients
     and projects was not earned by the Koch Defendants, and
     represents a benefit to the Koch Defendants at Triten's
     expense.30

A ruling in KPS's favor in this action could therefore confer a

benefit in terms of avoiding Defendants' demand for "monetary

relief over $1,000,000" in the state court lawsuit. See Monticello

Insurance Co. v. Patriot Security, Inc., 926 F. Supp. 97, 99 (E.D.

Tex. 1996) (looking to pleadings in a related state court action to

determine the value of the declaratory relief sought in a federal

action).   Since, moreover, the first sentence of Defendants' Motion

to Dismiss or Stay asserts that "[t]his declaratory judgment action

asks the Court to rule that one party should prevail in a pending




      Plaintiff' s Response, Docket Entry No. 14, p. 10 (citing
     28

Triten's First Amended Answer, Counterclaims, and Third-Party
Claims, p. 5 i 11, Exhibit 2 to Defendants' Motion to Dismiss or
Stay, Docket Entry No. 7-3, p. 6 i 11).

      Id. (citing Triten's First Amended Answer, Counterclaims, and
     29

Third-Party Claims, p. 6 i 21, Exhibit 2 to Defendants' Motion to
Dismiss or Stay, Docket Entry No. 7-3, p. 7 i 21).
      Id. (citing Triten's First Amended Answer, Counterclaims, and
     30

Third-Party Claims, p. 16 ii 93-94, Exhibit 2 to Defendants' Motion
to Dismiss or Stay, Docket Entry No. 7-3, p. 17 ii 93-94).
                                   19
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state court lawsuit                 • , "
                                            31
                                                 and Defendants have neither argued

that the value of KPS's claims are less than                                $75,000.00, nor

offered any evidence from which the court could conclude that the

value of the declaratory judgments that KPS seeks is less than

$75,000.00, the court concludes that KPS has established by a

preponderance            of the evidence that the amount in controversy

exceeds the jurisdictional minimum of $75,000.00.                             See Frye, 953

F.3d          at   293   (identifying        the      object    of    the    litigation   as

information contained in a letter that the plaintiff wrote to the

SEC, and asserting that "[g]iven the high value of the information

at issue;           [Defendant's]   potential liability if the letter is

released and contains the information that                           [ Plaintiff] alleges;

and, correspondingly, the amount that                          [Defendant]    would likely

claim in damages in a suit against 1Plaintiff]                              ., the value of

the object of the litigation easily exceeds the jurisdictional

amount").



                    III. Defendants' Motion to Dismiss or Stay

         Citing Brillhart v. Excess Insurance Company of America, 62 S.

Ct. 1173 (1942), Defendants urge the court to dismiss or stay this

action because the issues can be better resolved in the proceeding




         31
              Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p,. 5.

                                                 20
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pending in state court.32        KPS argues that the court should not

dismiss or stay this action because it "involves a plaintiff that

is not a party to the state court suit asserting allegations that

are unique to it." 33      Citing FinServ Casualty Corp. v. Settlement

Funding, LLC, 724 F. Supp. 2d 662 (S.D. Tex. 2010), KPS argues that

the court cannot stay this action because doing so would "deny it

access to a court of competent jurisdiction and [require it to]

wait out a st�te court case to which it is not a pirty.� 34



A.    Applicable Law

      The Federal Declaratory Judgment Act provides in part:

      In a case of actual controversy within its jurisdiction,
      . . . any court of the United States, upon the filing of
      an appropriate pleading, may declare the rights and other
      legal relations of any interested party seeking such
      declaration, whether or not further relief is or could be
      sought.

28   u.s.c.    § 2201.     Observing that "[o] n its face, the statute

provides that a court "may declare the rights and other legal

relations of any interested party seeking such declaration," the

Supreme      Court   has   "repeatedly    characterized   the   Declaratory

Judgment Act as 'an enabling Act, which confers a discretion on the

courts rather than an absolute right upon the litigant.'"           Wilton



      32
           Id. at 9-14.
      33
           Plaintiff's Response, Docket Entry No. 14, p. 12.


                                     21
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v. Seven Falls Co., 115 S. Ct. 2137, 2143 (1995) (quoting Public

Service Commission of Utah v. Wycoff Co., Inc., 73 S. Ct. 236, 239

(1952).   See Skelly Oil, 70 S. Ct. at 879 (recognizing that the

Declaratory     Judgment       Act     does   not    confer    subject    matter

jurisdiction on      this court because its "operation                          is

procedural only."); Public Affairs Associates, Inc. V. Rickover, 82

S. Ct. 580, 582 (1962) (per curiam) ("The Declaratory Judgment Act

was an authorization, not a command.            It gave the federal courts

competence to make a declaration of rights; it did not impose a

duty to do so."). "Consistent with the nonobligatory nature of the

remedy, a district court is authorized, in the sound exercise of

its discretion, to stay or to dismiss an action seeking declaratory

judgment before trial                " Wilton, 115 S. Ct. at 2143.       "In the

declaratory judgment context, the normal principle that federal

courts should adjudicate claims within their jurisdiction yields to

considerations of practicality and wise judicial administration."

Id.

      While    the   court's    discretion     in    matters   of    declaratory

judgment "is broad, it is not unfettered."                St. Paul Insurance

Company v. Trejo, 39 F.3d 585, 590 (5th Cir. 1994).                   The Fifth

Circuit   has    held   that,    in     analyzing    whether    to    dismiss    a

declaratory judgment action, a district court must begin with a

three-step     analysis to      determine:     (1)   whether   the    action    is

justiciable;    (2) whether the court has the authority to grant


                                         22
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declaratory relief; and (3) whether the court should exercise its

discretion to decide or dismiss the action.         Sherwin-Williams Co.

v. Holmes County, 343 F.3d 383, 387 (5th Cir. 2003) (citing Orix

Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (5th Cir. 2000)).

The parties do not dispute that this action is justiciable, and

that the court has the authority to grant declaratory relief; at

issue is whether the court should exercise its discretion to do

so. 35

         Whether the court should exercise jurisdiction over this

declaratory judgment action rests on "whether the questions in

controversy between the parties . . . can better be settled in the

proceeding pending in the state court."          Brillhart, 62 S. Ct. at

1176.      The three key aspects of this analysis are (1) federalism,

i.e., the proper allocation of decision-making between state and

federal courts, (2) fairness, and (3) efficiency, consideration of

which are guided by several non-exclusive factors.               Sherwin-

Williams,      343 F.3d at 390-91.        The non-exclusive factors that

district courts in this circuit consider in deciding whether to

dismiss or stay a declaratory judgment action include:

         (1)   whether there is a pending state action in which
               all of the matters in controversy may be fully
               litigated;




     35 Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 9 n. 1 (citing Orix, 212 F.3d at 895, and asserting that "[t]his
motion focuses on the third step")
                                     23
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         (2)    whether the plaintiff filed suit in anticipation of
                a lawsuit filed by the defendant;

         (3)    whether the plaintiff engaged in forum shopping in
                bringing the suit;

         (4)    whether possible inequities in allowing the
                declaratory plaintiff to gain precedence in time or
                to change forums exist;

         (5)    whether the federal court is a convenient forum for
                the parties and witnesses;

         (6)    whether retaining the lawsuit would         serve   the
                purposes of judicial economy; and

         ( 7)   whether the federal court is being called on to
                construe a state judicial decree involving the same
                parties and entered by the court before whom the
                parallel state suit between the same parties is
                pending.

Id. at 388 (citing Trejo, 39 F.3d at 590-91).



B.      Analysis

        Defendants argue that "[t] he Court should dismiss or stay

KPS's second-filed declaratory judgment action under Brillhart"

because the three relevant factors of federalism,              fairness and

efficiency, and the seven factors the Fifth Circuit announced in

Trejo, 39 F.3d at 590-91, "point decisively towards abstention." 36

KPS responds that "[b]ased on the Trejo factors, the Court should

not abstain or stay this case." 37



      Id. at 9.
        36
                       See also Defendants' Reply, Docket Entry No. 16,
pp. 8-13.
        37
             Plaintiff's Response, Docket Entry No. 14, p. 12.
                                       24
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       1.      Federalism

       The first Trejo factor, whether there is a pending state court

action in which all of the matters in controversy may be fully

litigated, and the seventh Trejo factor, whether the federal court

is being called upon to construe a state judicial decree, concern

the issue of federalism. Respect for federalism counsels a federal

court to abstain "if the federal declaratory judgment action raises

only issues of state law and a state case involving the same state

law issues is pending."         Sherwin-Williams, 343 F.3d at 390-91.

Because this court is not being called upon to construe a state

judicial decree, the seventh factor is not relevant.         The court's

consideration of federalism thus focuses on the first Trejo factor.

       Asserting that KPS has raised only state law matters that are

already pending in an underlying state court case, Defendants argue

that federalism weighs strongly in favor of dismissal. 38       Asserting

that     "KPS's declaratory    judgment claims   here   (like   S�itzer's

defenses in the state court action) rett on the interpretation of

five employment contracts and on Texas tort law, both of which are

state law matters," 39 Defendants �rgue that

       there can    be no real dispute that the state law matters·
       raised in    this action are already pending in state court.
       Here, KPS    wants a declaration that the five former Triten
       employees     who now work for KPS did not breach [] their


       38
            Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 10.


                                     25
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     contractual non-compete obligations and, therefore, KPS
     did not tortiotisly interfere with those· c�ntracts.
     Comp. �� 1, 21-41. That is also Switzer's defense in the
     state court action, where he argues that neither he nor
     the four other former IAG employees violated their
     noncompete obligations by working for [KPS]. Xl �� 4-6.
     The two cases therefore address the same five contracts,
     the same five former IAG employees, and the same
     defenses.   Compare X2 �� 76-85, with Compl. �� 11-13.
     The duplicative litigation that will result if this Court
     does not abstain "raise[s] federalism or comity concerns"
     that can and should be avoided through abstention. 40

     KPS responds that

     [Defendants] largely argue that the alleged parallel
     nature of the suits compels a stay. They are wrong. A
     parallel action exists where the previously filed state
     court suit involves precisely the same parties litigating
     precisely the same issues. This suit is not a parallel
     proceeding. It involves a plaintiff that is not a party
     to the state court suit asserting allegations that are
     unique to it. As this Court has noted, it cannot stay
     KPS's claims to deny it access to a court of competent
     jurisdiction and wait out a state court case to which it
     is not a party. See FinServ Casualty Corp. V. Settlement
     Funding, LLC, 724 F. Supp. 2d 662 (S.D. Tex. 2010) (Lake,
     J.) (where parties were separate legal entities, they
     were not substantially the same for abstention
     analysis) . 41

KPS argues that Defendants "fail to carry their burden - because

they cannot - to demonstrate that the state court action, where




     40
       Id. at 10-11 (citing Exhibit 1, PVS's and Switzer's Original
Answer to Triten's Counterclaims, Docket Entry No. 7-2, p. 3 �� 4-
6, and Exhibit 2, Triten's First Amended Answer, Counterclaims, and
Third Party Claims, Docket Entry No. 7-3, pp. 14-16 �� 76-85)
     41
          Plaintiff's Response, Docket Entry No. 14, p. 12.
                                   26
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they elected not to sue KPS, is a parallel proceeding involving the

same parties and same issues. " 42

       Finserv and other cases cited by KPS are inapposite because

neither Finserv nor many if not most of the other cases that KPS

cites were declaratory judgment actions in which the federal courts

are    "under   no   compulsion   to    exercise            jurisdiction."

Brillhart, 62 S. Ct. at 1175.           Instead, Finserv and other cases

cited by KPS are cases in which the courts had a duty to adjudicate

disputes over which they had jurisdiction.              See Colorado River

Water Conservation District v. United States, 96 S. Ct. 1236, 1244

(1976) (recognizing an "extraordinary and narrow exception to the

duty of the District Court to adjudicate a controversy properly

before it").    After the Supreme Court decided Colorado River, some

circuits held that the standard stated in Colorado River superceded

that stated in Brillhart and required district courts to hear

declaratory judgment acts unless "exceptional circumstances" were

present. See Sherwin-Williams, 343 F.3d at 389.           In Wilton, 115 S.

Ct. at 2137,     however,   "the Supreme Court resolved the circuit

split, holding that the less demanding Brillhart standard applies

[to declaratory judgment actions]." Sherwin-Williams, 343 F.3d at

389.    Brillhart abstention is not confined to occasions where the

proceedings are exactly parallel.           See Wilton, 115 S. Ct. at 2141-

43    (comparing and contrasting Brillhart,         62 S. Ct. at 1173, to




                                       27
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Colorado   River, 96 S.    Ct.   at     1236).      When   a pending state

proceeding "is not 'parallel' because it does not involve all the

same parties or issues," the court must consider "the extent of

similarity."   Sherwin-Williams, 343 F.3d at 394 n. 5.

     KPS contends that the state court action is not sufficiently

similar to this action to justify abstention because KPS is not a

party to the state court action and, therefore, the state court

will not decide the issues raised in this action, i.e., whether KPS

has tortiously interfered with the non-solicitation and non-compete

agreements that its five employees entered with the defendants.

The court disagrees.

     In the state court action, KPS's President, Switzer, and his

consulting firm have sued the same defendants that KPS has sued in

this action.   In the state court action Defendants have asserted

counterclaims against Switzer and third-party claims against KPS's

parent companies for tortious interference with the same non­

solicitation and non-compete agreements at issue in this action.

As discussed in § II.B.2, above, with respect the amount in

controversy,   the   counterclaims       and     third-party   claims   that

Defendants have asserted in the state court action seek "monetary

relief over $1,000,000," 43 based on allegations that Switzer and



     43
         Id. at 10   (citing  Triten's   First Amended Answer,
Counterclaims, and Third-Party Claims, p. 5 SI 11, Exhibit 2 to
Defendants' Motion to Dismiss or Stay, Docket Entry No. 7-3, p. 6
SI 11) .

                                   28
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" [ t] he Koch Defendants have used Triten employees and know-how,

obtainable only through tortious conduct, to compete for clients

and projects[, and that a]ny revenue generated by [KPS] from those

clients and projects was not earned by the Koch Defendants, and

represents a benefit to the Koch Defendants at Triten's expense."44

Switzer and the third-party defendants in the state court action

have the same interest in vigorously defending the counterclaims

and third-party claims for tortious interference that Defendants

have asserted against them in the state court action, as KPS has in

seeking declaratory judgment that it has not tortiously interfered

with the same agreements in this action.            See Deauville Corp. v.

Federated Department Stores, Inc., 756 F.2d 1183, 1196-97 (5th Cir.

1985)       (holding that a parent company and its subsidiary are so

closely aligned in their business interests as to render them the

same    entity    for   tortious   interference     purposes).     See   also

Copperweld Corp. v. Independence Tube Corp., 104 S. Ct. 2731, 2741-

42 (1984) (recognizing that a parent company's and its subsidiary's

"general corporate actions are guided or determined not by two

separate       corporate   consciousnesses,   but    one"   and   that   both

companies "always have unity of purpose or a common design")

        Here, a state court action is pending, the state court action

arises out of the same facts and circumstances, and involves the


      Id. (citing Triten's First Amended Answer, Counterclaims, and
       44

Third-Party Claims, p. 16 �� 93-94, Exhibit 2 to Defendants' Motion
to Dismiss or Stay, Docket Entry No. 7-3, p. 17 �� 93-94).
                                     29
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same contractual issues      as this declaratory      judgment action.

Although the state court action involves KPS's president, Switzer,

and KPS's parent companies instead of KPS,         KPS,   its president,

Switzer,   and its parent companies share the same interests and

motivations in both the state and federal actions.          Although the

state court action involves both additional state law claims and

additional parties,    all of the material questions necessary to

decide the issues raised in this declaratory judgment action are

governed by state law and can be resolved in the state court

action.    The court concludes therefore that the federalism factor

weighs strongly in favor of dismissing or staying this action. See

Sherwin-Williams, 343 F.3d at 390-91 ("[I]f the federal declaratory

judgment action raises only issues of state law and a state case

involving the same state law issues is pending, generally the state

court should decide the case and the federal court should exercise

its discretion to dismiss the federal suit.n)



     2.    Fairness

     The next three Trejo factors - whether KPS filed this action

in anticipation of a lawsuit filed by the Defendants, whether KPS

engaged in forum shopping in bringing this action,          and whether

possible inequities exist in allowing KPS to gain precedence in

time or to change forums     "analyze whether the plaintiff is using

the declaratory judgment process to gain access to a federal forum


                                   30
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on 'improper or unfair grounds." Sherwin-Williams, 343 F. 3d at 391.

       Citing Illinois Central Railroad Co. v. Cain, 434· F. Supp. 2d

415,     421     (S.D.   Miss.   2006),    for   its   statement   that   "[t]he

Declaratory Judgment Act is not a tool [to] be used by potential

litigants to secure a forum of their choosing," 45 Defendants argue

"that is exactly what KPS attempts to do here. " 46            Asserting that

"[t]he only reason Switzer had his company bring these claims in

federal court (as opposed to adding KPS as a party in the already

pending state court action) is because Switzer wants to avoid state

court adjudication in favor of this federal forum," 47 Defendants

argue "[t]hat is quintessential forum shopping that justifies

dismissal of KPS's second-filed action," and that "KPS cannot use

the Declaratory Judgment Act to avoid having [their] counterclaims

heard in state court." 48

       KPS responds that Defendants' "'forum shopping' arguments are

not persuasive and .              ignor[e] that KPS is a separate legal

entity." 49      Asserting that there are no allegations of alter ego,

KPS responds that filing this declaratory action in federal court



       45
         Defendant's Motion to Dismiss or Stay, Docket Entry No. 7,
p. 12.




       49
            Plaintiff's Response, Docket Entry No. 14, p. 18.
                                          31
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is not forum shopping but, instead, an effort to avail itself of

diversity jurisdiction to have its rights adjudicated. 50          The court

is not persuaded by KPS's arguments.

      KPS filed the instant action on October 9, 2020. 51          Although

the record before the court does not show the date on which the

state       court   action   was   filed,   the   factual   allegations    in

Plaintiff's Complaint establish that both the state court action

and Defendants' counterclaims against KPS's president, Switzer, and

third-party claims against KPS's            parent   companies   were   filed

first. 52     KPS alleges that

      [ d] espite referring to KPS in their pleadings, Defendants
      did not name KPS as a third-party defendant but
      nevertheless still accuse KPS of hiring away the Former
      Employees to compete for projects that "otherwise would
      have gone to Triten" by allegedly inducing the Former
      Employees to violate their Agreements.       Further, after
      being informed that they had sued the wrong party,




      5oid.
      51
           Plaintiff's Complaint, Docket Entry No. 1, p. 1.
      Id. at 6 ':!!':!I 15-16 (alleging that "in March 2020, Defendants
      52

advised the president of KPS's parent company that Defendants
believed KPS was involved in inducing the Former Employees to
violate their respective Agreements, ostensibly by causing or
directing them to 'solicit or accept' business on behalf of KPS in
connection with Triten and soliciting Triten employees," and that
"[s]hortly thereafter, in a Texas state court lawsuit, Defendants
elevated their objections in a public filing naming KPS's direct
and indirect parent companies (Koch Engineered Solutions, LLC and
Koch Industries, Inc.),                as third-party defendants to a
lawsuit   involving        Switzer's   individual   claim  for   unpaid
compensation owed by Triten and/or IAG under his Consulting
Agreement").
                                      32
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       Defendants declined to amend their pleading to include
       KPS or omit its parent companies. 53

Moreover, KPS acknowledges that "[t]he state court action to which

KPS is not a party did not include third-party claims until July

2020, three months before KPS filed this suit. " 54              Thus, this action

was    not      filed    in   anticipation    of,   but   in    response   to,   the

counterclaims and third-party claims for tortious interference that

Defendants filed against KPS's president, Switzer, and KPS's parent

companies in state court.              Because for the reasons stated in

§    III.B.1,      above,     the court has already concluded the KPS's

interests in this declaratory action are the same as the interests

of it's president, Switzer, and it's parent companies in the state

court action, and that resolution of the issues raised in this

declaratory action would also resolve the issues raised by the

claims for tortious interference that Defendants have asserted in

the state court action, the court concludes that the filing of this

declaratory action in federal court is, in fact, an effort by KPS

not only to forum shop, but also to gain precedence by having this

court instead of the state court decide the issues raised by the

tortious         interference      claims     asserted     in     both     actions.

Accordingly, the court concludes that the fairness factors weigh in

favor of dismissal or stay.



       53
            Id. 'JI 16
       54
            Plaintiff's Response, Docket Entry No. 14, p. 7.
                                         33
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     3.       Efficiency

     The last two Trejo factors - whether the federal court is a

convenient     forum    for    the    parties   and   witnesses,   and     whether

retaining the declaratory action would serve the purposes of

judicial economy - address the aspect of efficiency.                 The Fifth

Circuit has instructed district courts that

     [a] federal district court should avoid duplicative or
     piecemeal litigation where possible.    A federal court
     should be less inclined to hear a case if necessary
     parties are missing from the federal forum, because that
     leads to piecemeal litigation and duplication of effort
     in state and federal courts. Duplicative litigation may
     also raise federalism or comity concerns because of the
     potential for inconsistent state and federal court
     judgments, especially in cases involving state law
     issues.

Sherwin-Williams, 343 F.3d at 391.

     Defendants        argue   that    whether    the   federal    court    is   a

convenient forum for the parties and witnesses is neutral because

both the state and federal actions are before courts located in

Harris County, Texas, where the state and federal courthouses are

only a few blocks apart. 55          Citing Admiral Insurance Co. v. Little

Big Inch Pipeline Co., Inc., 496 F. Supp. 2d 787, 794 (W.D. Tex.

2007), KPS argues that when both forums are convenient, this factor

weighs in favor of proceeding in the federal forum.56                The court




     55
          Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
p. 14.      See also Defendants' Reply, Docket Entry No. 16, p. 12.
     56
          Plaintiffs' Response, Docket Entry No. 14, p. 19.
                                         34
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concludes that the fifth Trejo factor is neutral and, therefore,

equally convenient for the parties and the witnesses.

     Regarding the sixth Trejo factor, Defendants argue that

     [j]udicial economy weighs "heavily" in favor of dismissal
     because .       [i]t is "a waste of judicial resources to
     litigate a federal declaratory judgment action involving
     only issues of state law that are already being
     litigated" in state court.         Here, the parties are
     actively litigating these issues in state court pursuant
     to a docket control order with an October 2021 trial
     date.   XS.   Retaining this case would duplicate those
     efforts and waste, · rather than conserve, judicial
     resources. 57

     KPS responds that retaining jurisdiction serves purposes of

judicial economy because "'the parties' are not litigating these

issues in state court, where KPS is not actually a party," 58 and

because

     [n]ot only have the purportedly "substantially similar"
    third-party defendants not participated in discovery, but
    the state court has entered a protective order against
    the discovery propounded on them.     Additionally, [the
    third-party    defendants]   have  a11· filed     special
    appearances    contesting   jurisdiction    and   special
    exceptions contesting the adequacy of the Third-Party
    Petition.    To be clear, far from being in "active
    discovery," [Defendants] claims have not, as of the tim�
    of this filing, advanced passed the jurisdictional or
    pleading stage. 59




      Defendants' Motion to Dismiss or Stay, Docket Entry No. 7,
     57

p. 14 (citing Exhibit 5, Agreed Scheduling Order Entered in the
State Court Action, Docket Entry No. 7-6).
    58
          Plaintiff's Response, Docket Entry No. 14, p. 20.


                                   35
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In addition KPS has supplemented its response "to notify the Court

that after KPS filed its Opposition, the state court granted

Special Appearances of Koch Industries, Koch Engineered Solutions,

and David Dotson, [i.e., the third-party defendants in the state

court action], dismissing them from the state court action because

of the absence of personal jurisdiction in that court." 6 °           KPS

argues that "[g]iven the dismissals,         Defendants' arguments to

dismiss or stay under Brillhart              are moot, as those 'Koch

Defendants' are no longer parties to the [state court proceeding].

Thus, there is nothing remaining that can be better settled in the

state court proceeding. " 61

     Defendants reply that the state court's dismissal of the

third-party defendants is "currently on appeal," and does not

include KPS's president, Switzer. 62    Defendants argue that

     both Switzer and Triten have served and responded to
     discovery, see X2, X3, so KPS's claim about the status of
     the case is puzzling, to say the least. It is true that
     the Koch entities . . . have objected to participating in
     discovery and that the state court recently granted their
     special appearances, but those facts have little to do
     with the issue of judicial economy, particularly as
     Switzer, the President of KPS, remains a party to the
     state proceeding and the special appearance ruling as to




      Plaintiff's Supplement, Docket Entry No. 15, pp. 1-2 (citing
     60

Exhibit 1, Orders Granting Amended Special Appearances, Docket
Entry No. 15-1, pp. 2-4).
     61
          Id. at 2.
     62
          Defendants' Reply, Docket Entry No. 16, p. 5.
                                   36
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     [the Koch third-party defendants is                  subject to
     further review. 63

     This      declaratory   judgment    action    involves   two     issues:

(1) whether KPS has tortiously interfered with the its employees'

post-employment obligations to refrain from soliciting or accepting

business from, or contracting, Triten clients; and (2) whether KPS

has tortiously interfered with any prohibition on soliciting or

hiring any Triten employees. 64    The state court action involves not

only tortious interference claims against KPS's president, Switzer,

whose interest in vigorously defending those claims is the same as

KPS's interest, but also involves additional state law claims and

at least one - and possibly more - additional parties.              Were this

court to resolve the declaratory judgment action before it, the

related claims at issue in the state court action would remain

unresolved, and the parties would still be required to litigate the

state court action.       To the contrary, all issues raised by the

claims asserted in this declaratbry judgment action can be resolved

in the state court proceeding.          It would thus be inefficient and

uneconomical for this action to proceed.          As the Fifth Circuit has

recognized:

     A federal court should be less inclined to hear a case if
     necessary parties are missing from the federal forum,
     because that leads to piecemeal          litigation and
     duplication of effort in state and federal courts.


     63
          Id. at 12.
     64
          Plaintiff's Complaint, Docket Entry No. 1, p. 2.
                                    37
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        Duplicative litigation may also raise federalism or
        comity concerns because of the potential for inconsistent
        state and federal court judgments, especially in cases
        involving state law issues.

Sherwin-Williams, 343 F.3d at 391.             The court therefore concludes

that the efficiency factors weigh in favor of dismissal or stay.



C.      Conclusions

        Having considered the issues of federalism,                fairness,    and

efficiency, and guided by the Trejo factors, the court concludes

that the state court action presents the better forum for deciding

the questions in controversy here - including the potentially case-

dispositive tortious interference issues.               The Supreme Court has

noted that "where the basis for declining to proceed is the

pendency of a state proceeding, a stay will often be the preferable

course,    because it assures that the federal action can proceed

without risk of a time bar if the state case, for any reason, fails

to resolve the matter in controversy."             Wilton,    115 S. Ct. at 2143

n. 2.      The court will therefore grant the Defendants' motion to

stay the case pending final adjudication in the state court suit.



                            IV. Conclusions and Order

         For the reasons stated in § II, above, the court concludes

that    Plaintiff     has    shown   that    the   amount    in   controversy   is

sufficient to satisfy the requirements for diversity jurisdiction,

and that complete diversity of citizenship likely exists in this

                                        38
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case, but that the jurisdictional facts alleged in Plaintiff's

Complaint must be supplemented to identify IAG's members and their

respective states of citizenship.          Accordingly,   Defendants' Motion

to Dismiss for lack of subject matter jurisdiction is DENIED.

Plaintiff is ORDERED to supplement the jurisdictional facts alleged

in Plaintiff's Complaint within 21 days.          Should KPS fail to comply

with the order to supplement the jurisdictional facts alleged in

Plaintiff's Complaint to show complete diversity of citizenship,

the court may dismiss this action sua sponte for lack of subject

matter jurisdiction.

        For the reasons stated in § III, above, the court concludes

that Defendants' Motion to Dismiss should be DENIED but that this

action should be STAYED pending final adjudication in the state

court action.

        Accordingly, Defendants' Motion Defendants' Motion to Dismiss

or Stay Plaintiff's Declaratory Judgment Action,               Docket Entry

Nc:i.   7, . is GRANTED in PART and DENIED in PART.          Plaintiff Koch

Project Solutions, LLC's request for leave to amend included in its

Response in Opposition to Defendants' Motion to Dismiss or Stay,

Docket Entry No. 14, is DENIED as MOOT.

        This action is STAYED pending further order of the court.

        The   January   29,   2021,   Initial    Pretrial   and   Scheduling

Conference is CANCELED.



                                      39
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        The partie.s are ORDERED to submit a joint status report on

April 2, 2021, ·and every sixty (60) days thereafter until the stay

is lifted.

        SIGNED at Houston, Texas, on this         22nd day of January,

2021.



                           SENIOR UNITED STATES DISTRICT JUDGE




                                   40
